Case 2:25-cv-01208-JXN-AME        Document 1    Filed 02/12/25   Page 1 of 60 PageID: 1




Adam M. Apton
LEVI & KORSINSKY, LLP
33 Whitehall Street, 17th Floor
New York, New York 10004
Tel.: (212) 363-7500
Fax: (212) 363-7171
Email: aapton@zlk.com

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
                                               Case No. 2:25-cv-01208
 MICHAEL CRONIN, Individually and
 on Behalf of All Others Similarly             COMPLAINT FOR
 Situated,                                     VIOLATIONS OF THE
                                               FEDERAL SECURITIES
                     Plaintiff,                LAWS
                                               CLASS ACTION
       v.
                                               Demand for Jury Trial
 MERCK & CO., INC., ROBERT M.
 DAVIS, CAROLINE LITCHFIELD, and
 DEAN Y. LI,

                     Defendants.



      Plaintiff Michael Cronin (“Plaintiff”), individually and on behalf of all other

persons similarly situated, by his undersigned attorneys, alleges in this Complaint

for violations of the federal securities laws (the “Complaint”) the following based

upon knowledge with respect to his own acts, and upon facts obtained through an

investigation conducted by his counsel, which included, inter alia: (a) review and

analysis of relevant filings made by Merck & Co., Inc. (“Merck” or the “Company”)
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25    Page 2 of 60 PageID: 2




with the United States Securities and Exchange Commission (the “SEC”); (b) review

and analysis of Merck’s public documents, conference calls, press releases, and

stock chart; (c) review and analysis of securities analysts’ reports and advisories

concerning the Company; and (d) information readily obtainable on the internet.

      Plaintiff believes that further substantial evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery. Most of the

facts supporting the allegations contained herein are known only to the defendants

or are exclusively within their control.

                           NATURE OF THE ACTION

      1.     This is a federal securities class action on behalf of all investors who

purchased or otherwise acquired Merck securities between February 3, 2022, to

February 3, 2025, inclusive (the “Class Period”), seeking to recover damages caused

by Defendants’ violations of the federal securities laws (the “Class”).

      2.     Defendants provided investors with material information concerning

Merck’s expected revenue of $11 billion from sales of Gardasil by 2030. Defendants’

statements included, among other things, confidence in Merck’s purported ability to

utilize successful consumer activation and education efforts on the benefits of

Gardasil in order to drive demand and capitalize on eligible populations for

vaccination, resulting in confidently optimistic reports and forecasts of Gardasil’s

growth in China.


                                           2
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 3 of 60 PageID: 3




       3.     Defendants provided these overwhelmingly positive statements to

investors while, at the same time, disseminating materially false and misleading

statements and/or concealing material adverse facts concerning the true state of

Gardasil’s demand in China; notably, that Merck lacked visibility into demand for

Gardasil in China among eligible and otherwise targeted populations, resulting in

the inflated inventory of its distributor, Zhifei. Such statements absent these material

facts caused Plaintiff and other shareholders to purchase Merck’s securities at

artificially inflated prices.

       4.     Investors began to question the veracity of Defendants’ public

statements on July 30, 2024, during Merck’s earnings call following a same day

press release announcing its second quarter fiscal year 2024 earnings. In pertinent

part, Defendants announced a significant reduction in Gardasil vaccinations,

resulting in inventory levels at Merck’s distributor in China to climb above normal

levels. As a result, Defendants announced that its shipments of Gardasil to China

may fall below contracted levels for 2024, yet they remained confident in their long-

term projections both in the region and globally.

       5.     Investors and analysts reacted immediately to Merck’s revelation. The

price of Merck’s common stock declined dramatically. From a closing market price

of $127.78 per share on July 29, 2024, Merck’s stock price fell to $115.25 per share

on July 30, 2024, a decline of about 9.78% in the span of just a single day.


                                           3
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25   Page 4 of 60 PageID: 4




      6.     Notwithstanding the second quarter’s disclosures, Merck and the

Individual Defendants continued to mislead investors. Defendants continued to

create the false impression that they possessed reliable information pertaining to the

underlying issues surrounding the purported demand slowdown for Gardasil in

China, while also minimizing the risks associated with competition and

macroeconomic fluctuations. During the October 31, 2024, earnings call,

Defendants continued to mislead investors with repeated statements of confidence

in Gardasil’s growth in China, both in the existing eligible population of women and

the planned expansion following approval for male vaccinations, particularly as they

related to Merk’s ability to achieve $11 billion in worldwide Gardasil sales by 2030.

Defendants further positively highlighted Merck’s efforts to assist Zhifei with

resources for promotional and educational efforts to bolster Gardasil sales while

maintaining reduced shipping levels. At the time, Defendants touted the success of

such efforts which had resulted in the reduction of overall channel inventory levels.

Pertinently, Defendants made no indication additional shipping cuts to Zhifei would

be necessary.

      7.     The full truth finally emerged on February 4, 2025, when Merck

announced it would no longer achieve the long-forecasted $11 billion in sales of

Gardasil by 2030, as it would cease shipments of Gardasil to China “through at least

midyear” to facilitate a “rapid reduction of inventory.” Defendants claimed this was


                                          4
Case 2:25-cv-01208-JXN-AME      Document 1        Filed 02/12/25   Page 5 of 60 PageID: 5




necessitated by the continued over-inflation of overall channel inventories as

demand in China for Gardasil had “not recovered to the level we had expected.”

      8.     Investors and analysts again reacted promptly to Merk’s revelations.

The price of Merck’s common stock declined dramatically. From a closing market

price of $99.79 per share on February 3, 2025, Merck’s stock price fell to $90.74 per

share on February 4, 2025, a decline of more than 9% in the span of just a single day.

                          JURISDICTION AND VENUE

      9.     Plaintiff brings this action, on behalf of himself and other similarly

situated investors, to recover losses sustained in connection with Defendants’ fraud.

      10.    The claims asserted herein arise under and pursuant to §§10(b) and 20(a)

of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

thereunder by the SEC (17 C.F.R. §240.10b-5).

      11.    This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §§1331 and 1337, and Section 27 of the Exchange Act, 15

U.S.C. §78aa.

      12.    Venue is proper in this District pursuant to §27 of the Exchange Act

and 28 U.S.C. §1391(b), as Defendant Merck is headquartered in this District and a

significant portion of its business, actions, and the subsequent damages to Plaintiff

and the Class, took place within this District.




                                           5
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 6 of 60 PageID: 6




      13.    In connection with the acts, conduct and other wrongs alleged in this

Complaint, Defendants, directly or indirectly, used the means and instrumentalities

of interstate commerce, including but not limited to, the United States mail, interstate

telephone communications and the facilities of the national securities exchange.

                                   THE PARTIES

      14.    Plaintiff purchased Merck common stock at artificially inflated prices

during the Class Period and was damaged upon the revelation of the Defendants’

fraud. Plaintiff’s certification evidencing his transaction(s) in Merck is attached

hereto.

      15.    Merck & Co., Inc. is a New Jersey corporation with its principal

executive offices located at 2025 East Scott Avenue, Rahway, NJ 07065. During the

Class Period, the Company’s common stock traded on the New York Stock

Exchange (the “NYSE”) under the symbol “MRK.”

      16.    Defendant Robert M. Davis (“Davis”) was, at all relevant times, the

President and Chief Executive Officer of Merck. Davis previously served as a

Director of Merck and was appointed Chairman as of December 1, 2022.

      17.    Defendant Caroline Litchfield (“Litchfield”) was, at all relevant times,

an Executive Vice President and the Chief Financial Officer of Merck.

      18.    Defendant Dean Y. Li (“Li”) was, at all relevant times, an Executive

Vice President of Merck and the President of Merck Research Laboratories.


                                           6
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25    Page 7 of 60 PageID: 7




      19.    Defendants Davis, Litchfield, and Li are sometimes referred to herein

as the “Individual Defendants.” Merck together with the Individual Defendants are

referred to herein as the “Defendants.”

      20.    The Individual Defendants, because of their positions with the

Company, possessed the power and authority to control the contents of Merck’s

reports to the SEC, press releases, and presentations to securities analysts, money

and portfolio managers, and institutional investors, i.e., the market. Each Individual

Defendant was provided with copies of the Company’s reports and press releases

alleged herein to be misleading prior to, or shortly after, their issuance and had the

ability and opportunity to prevent their issuance or cause them to be corrected.

Because of their positions and access to material non-public information available

to them, each of these Individual Defendants knew that the adverse facts specified

herein had not been disclosed to, and were being concealed from, the public, and

that the positive representations which were being made were then materially false

and/or misleading. The Individual Defendants are liable for the false statements

pleaded herein, as those statements were each “group-published” information, the

result of the collective actions of the Individual Defendants.

      21.    Merck is liable for the acts of the Individual Defendants, and its

employees under the doctrine of respondeat superior and common law principles of




                                          7
Case 2:25-cv-01208-JXN-AME     Document 1    Filed 02/12/25   Page 8 of 60 PageID: 8




agency as all the wrongful acts complained of herein were carried out within the

scope of their employment with authorization.

      22.   The scienter of the Individual Defendants, and other employees and

agents of the Company are similarly imputed to Merck under respondeat superior

and agency principles.

                         SUBSTANTIVE ALLEGATIONS

                             Company Background

      23.   Merck is a global healthcare company that operates through two

segments, Pharmaceutical and Animal Health, with a significant focus on

prescription medications.

      24.   In the Pharmaceutical segment, Merck sells both therapeutic and

preventative agents, generally by prescription, to physicians, wholesalers,

distributors, and government entities for appropriate treatment and distribution to

patients.




                                        8
Case 2:25-cv-01208-JXN-AME      Document 1       Filed 02/12/25   Page 9 of 60 PageID: 9




             The Defendants Materially Misled Investors Concerning

                      Merck’s Revenue Outlook for Gardasil

                                  February 3, 2022

      25.    On February 3, 2022, Defendants conducted an earnings call

corresponding to their fourth quarter and full-year fiscal 2021 results where they first

forecasted $11 billion in Gardasil sales by the year 2030, stating, in pertinent part:

      [W]e have many important franchises beyond oncology that we expect
      can drive durable growth into the next decade, including GARDASIL,
      which we believe can potentially double by 2030

      26.    Notably, pursuant to Merck’s 10-K, filed on February 25, 2022,

Gardasil earned $5.673 billion in fiscal 2021.

                                    April 28, 2022

      27.    On April 28, 2022, Defendants published their first quarter fiscal year

2022 results and conducted a corresponding earnings call. During the call,

Defendants touted the success of Gardasil and its future prospects, stating, in

pertinent part, the following during their prepared remarks:

      Global demand for GARDASIL remains strong and growth will benefit
      from increased supply as a result of the significant investments we are
      making to expand manufacturing capacity

      ...

      Our vaccines portfolio again delivered excellent performance led by
      GARDASIL, which increased 60% to $1.5 billion. Outside the U.S.,
      significant growth was driven by strong underlying demand across key

                                           9
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 10 of 60 PageID: 10




       geographies, particularly China as well as increased supply. In the U.S.,
       sales increased due to the timing of CDC purchases.

       Global demand for GARDASIL remains robust, supported by strong
       clinical and real-world data as well as efforts to increase the recognition
       of GARDASIL as a vaccine that can help prevent certain HPV-related
       cancers in both females and males.

 (Emphasis added).

       28.   A question-and-answer portion of the call following during which

 Defendants reiterated their expectation to achieve $11 billion in Gardasil sales by

 2030 in the following pertinent exchange:

       <Q: Colin Nigel Bristow – UBS Investment Bank – Analyst> Congrats
       on the quarter. And I also wanted to say all the best to Roy. It's been
       really great working with you, and also congrats to Eliav. So I just
       wanted to piggyback on a GARDASIL question. Could you maybe just
       give us a little more detail on how you expect the GARDASIL supply
       to increase? And then maybe just help us think through what is the
       supply/demand mismatch right now? Some of your prior comments
       suggested that there may not be such. But I know you said supply has
       been an issue over the past sort of couple of years. So would love to get
       some expanded thoughts there.

       <A: Caroline Litchfield> Thank you for the question. This is Caroline.
       So let me start first with the supply/demand. There is significant
       demand for GARDASIL. This cancer-preventing vaccine in the HPV
       area has only reached today 9% of the global eligible population. So
       there is significant runway ahead of us to protect lives and to drive
       growth for Merck. Indeed, we've stated that we expect the revenue in
       year 2030 to be double the $5.7 billion we achieved in 2021. So we
       have significant opportunity ahead of us.

       In order to achieve that opportunity, we are building new facilities
       that will be coming online from 2023, 2024 and 2025. So we're going
       to have a step-up in the level of supply to the market that will happen
       over that period.

                                           10
Case 2:25-cv-01208-JXN-AME       Document 1    Filed 02/12/25   Page 11 of 60 PageID: 11




       Specific then to this year, we will see a continuation of the supply into
       the market as we did in 2021, albeit not quite at the same step-up that
       we achieved in 2021. So we remain really confident in our ability to
       drive strong growth for GARDASIL both in 2022 and the years to
       come.

 (Emphasis added).

                                    January 9, 2023

       29.    On January 9, 2023, Defendants presented at the 41st Annual J.P.

 Morgan Healthcare Conference and pertinently discussed their expectations for

 Gardasil, stating:

       As you look at the durable growth drivers, what's important as you think
       about our vaccines business and our Animal Health business, these are
       very much annuity-like businesses with stable growth. And in both
       cases, we have a growing pipeline. So as you see, what we showed to
       be nice and robust growth across both, we expect that to continue into
       the long term. We've talked about starting with the vaccines business,
       which is really anchored in our product, GARDASIL, that, that
       product will continue to grow meaningfully. And in fact, we expect it
       to more than double off of 2021 sales. So that -- if you look forward,
       what that means is growth in excess of $11 billion by 2030.

 (Emphasis added).

       30.    Defendants elaborated further on this goal during the question-and-

 answer portion that followed:

       <Q: Christopher Thomas Schott – JPMorgan Chase & Co – Senior
       Analyst> Great. Rob, on GARDASIL, this product clearly has
       exceeded expectations pretty consistently here. I know you talked about
       $11 billion-plus in 2030 sales. What do we need to do to bridge from
       where we are today to get to that peak sales level? And I guess part of


                                          11
Case 2:25-cv-01208-JXN-AME       Document 1      Filed 02/12/25    Page 12 of 60 PageID: 12




       my -- the second piece of that would be -- is that peak? Or is that just -
       - can this actually get even much larger than that given the...

       <A: Robert M. Davis> Well, if you look at where we are in the journey,
       obviously, it starts with a growing recognition, which I think is now
       really taking hold that as Dean said, this is a cancer vaccine, which is
       important. So we're going to continue to drive it. But if you look across
       the global population, it's still -- there's still a huge unmet need, and it's
       pretty underpenetrated. The focus areas, how can we drive
       geographically to drive for greater reach, continue to drive for gender
       neutral. There still is a situation and underappreciation that it's not only
       protecting the female, you need to get the male protected because that
       brings protection for the female. But increasingly, people are
       recognizing there are a lot of cancers that affect the males as well, head
       and neck and others, that it's important that you bring both. So we're
       going to continue to drive for gender neutral.

       And then increasingly, we're now, as we start to bring online additional
       capacity, we can start to drive also into the mid-adult population. We've
       obviously been limited to trying to do it more in the pediatric setting
       because we were limited in what we had. As we go to having an
       unconstrained situation, we'll be able to go more fully across all of these
       areas. And if you look at where we are today, actually in 2023, we're
       bringing online 2 new bulk facilities. Those will be ramping up between
       2023 and 2025. So as we get to '25, we will be unconstrained in our
       ability to drive global demand.

       In the meantime, we've shown we can drive productivity in our existing
       facilities. That's why we've been able to drive the growth we've had.
       And I'm confident you're going to see us grow. We're very confident
       in hitting the $11 billion number. I don't want to get into projections
       beyond that, but let's just say that the global need is still significant,
       and we're committed to trying to address it.

 (Emphasis added).




                                            12
Case 2:25-cv-01208-JXN-AME      Document 1       Filed 02/12/25   Page 13 of 60 PageID: 13




                                     April 27, 2023

       31.    On April 27, 2023, Defendants conducted and earnings call

 corresponding to their first quarter fiscal year 2023 results. During the call,

 Defendants discussed a plan to accelerate shipments to Zhifei, Merck’s distribution

 partner in China, stating in pertinent part:

       Our vaccines portfolio delivered excellent growth led by GARDASIL,
       which grew 43% to $2 billion. Performance was driven by strong
       demand in major ex-U.S. markets particularly China as well as
       increased supply. Growth also benefited from an acceleration of
       shipments to China from the second half to the first half of the year
       to ensure the availability of product to meet heightened demand
       following the approval of the expanded indication of GARDASIL 9
       for girls and women, 9 to 45 years of age

       ...

       Finally, we are confident in our ability to drive strong growth of
       GARDASIL, particularly in international markets. We are well
       positioned to protect many more people from HPV-related cancers now
       and over the long term. And given the strong global demand for the
       vaccine, we see an acceleration of growth for GARDASIL in the full
       year 2023 relative to 2022 but not quite at the same level of growth
       achieved this quarter.

 (Emphasis added).

       32.    Defendants elaborated further in the following pertinent exchange

 during the question-and-answer portion of the call:

       <Q: Timothy Minton Anderson – Wolfe Research, LLC – Managing
       Director of Equity Research> I have a question on GARDASIL in
       China. So the GFA contract from your Chinese distributor published a
       couple of months ago shows really big purchase orders consistently for


                                            13
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 14 of 60 PageID: 14




       the next few years and it kind of trails off and declines. And it's
       interpreted literally it could suggest there was kind of a bolus effect
       going on where growth isn't linear. It goes up for a while, then it
       contracts as you work through warehouse patients. Is that how we
       should think about the longer-term uptake of GARDASIL in that
       particular market that it might not be linear?

       <A: Robert M. Davis> Yes. Just -- so if you look at the GFA contract,
       it's important to understand that the levels put in that contract are
       minimums. And in fact, we have shown and our history has been that
       actually we have supplied well over the minimum. So I wouldn't
       interpret that as the literal forecast of the business in China because
       there's opportunities with the expanded age cohorts as we continue to
       drive penetration in what is still a large unmet population, there is
       opportunities to do better than what's in that contract. And if history
       isn't indicative of the future, we would expect to see that move forward.
       So I would not interpret that as implying a decline in GARDASIL in
       China over the coming years.

 (Emphasis added).

                                  October 26, 2023

       33.   On October 26, 2023, Defendants conducted an earnings call for their

 third quarter fiscal year 2023 results. During the question-and-answer segment,

 Defendants pertinently discussed Gardasil’s growth opportunities at length in

 response to the following inquiry:

       <Q: Christopher Thomas Schott – JPMorgan Chase & Co. – Senior
       Analyst> I just had a question on GARDASIL. We've seen obviously
       some very impressive growth over the past few years. But looking
       ahead, I'm just interested in how much more opportunity for -- you see
       for this franchise to ramp from here. So maybe just elaborate a little bit
       more on what are the kind of unmet needs at this point? Where is the
       biggest opportunity to continue to kind of roll out the product? And just
       ultimately, how much larger can this franchise become over time?


                                          14
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 15 of 60 PageID: 15




       <A: Robert M. Davis> Yes. Chris, no, I appreciate the question. So one,
       I would say we feel very proud of GARDASIL has -- strength of this
       business. And the fact that people increasingly recognize that we can
       fundamentally do what's the most important, which is prevent cancer,
       prevent cervical cancer, increasingly prevent certain head and neck
       cancers if we can get people fully vaccinated. So the fact that you are
       starting to see that progress is important.

       But as we look at the business going forward, I would start by saying
       we remain very confident that this is a business that's going to
       continue to grow and that we will achieve the expectation we've
       communicated of over $11 billion in revenue by 2030. So nothing has
       changed in how we see the business. As you know, we've made
       significant investments in manufacturing capacity. And from that
       perspective, now we're well positioned. We've brought on our 2 sites,
       and they're ramping now. And so we're doing quite well from that
       perspective.

       And then as far as the opportunities that exist to potentially continue to
       drive even beyond what we just discussed, really, I would put in 3
       buckets. And our ability to achieve that objective and then potentially
       exceed that objective really come down to these 3 variables.

       And first and foremost, while we've had great penetration in the
       developed world, a huge opportunity still exists in the low and middle
       income markets. And I can tell you, we have a focus and an intention
       to drive this business into the low and middle income markets.
       Obviously, that's going to require us to continue to drive down our
       manufacturing costs, which we have plans to do. And I have confidence
       that we will do. And to think about lower price points, but that said, that
       will be a meaningful incremental revenue as we achieve that over time.

       And then as you look at the established markets, there still is a large
       population to address. Obviously, to date, we've been driving largely
       through public vaccination programs outside the United States, in the
       United States through the nationalization program, primarily aimed at
       young women -- young girls. Increasingly, the opportunity to go to
       broader age cohorts as we think about going now to people age 45, that


                                           15
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 16 of 60 PageID: 16




       ability to move into the mid-adult segment is a real opportunity in the
       United States.

       It continues to be a driver of growth. It's increasingly going to be a
       growth driver in Europe, and it is currently an important part of why
       we're driving growth with the recent expansion we got in China, and
       there are more markets to come. So as we look at that, that's going to
       be another lever of growth.

       Obviously, the difference here is this requires consumer activation.
       That takes commercial investment and a lot of heavy lifting. We've
       demonstrated we can do it like we've started to do in China and as
       we're starting to do in the United States. But it is going to take a lot of
       work and investment, and we're committed to doing that. So that's
       another variable that we look at.

       And then lastly, this is still largely seen as a female vaccine. We only
       -- I think it's only 70 markets have gender-neutral approvals. And even
       in the markets that do have it, particularly as you look at markets like
       Europe, there still is a real opportunity to increasingly bring people to
       understand that this is not just a female cancer vaccine, it is a gender-
       neutral cancer vaccine. And with the growing incidence of head and
       neck cancers, which is primarily a male-dominated cancer, we do see
       real opportunity to continue to push and drive, both getting more
       markets to gender-neutral and in the markets where we have those
       approvals drive vaccination rates up. And probably one of the bigger
       near-term opportunities is to get gender-neutral approved in China,
       which is an opportunity.

       So across all of those, there's opportunities and potential. It's a heavy
       lift. I don't want to indicate that it's going to be easy. And we're going
       to invest behind it. But that really will determine ultimately, our success
       across those variables will determine the success we see long-term with
       this franchise. But maybe Dean or Caroline, anything you would add?

       <A: Dean Y. Li> Yes. I would just emphasize 2 points, one, directly
       related to what you said. This is a highly effective vaccine to prevent
       women's cancer, cervical cancer. And that is something that everyone
       recognizes, but the gender-neutral part is really important. And at
       MRL, we're advancing studies and filings in relationship to make

                                           16
Case 2:25-cv-01208-JXN-AME       Document 1      Filed 02/12/25    Page 17 of 60 PageID: 17




       sure that as many places that can adopt gender-neutral can be in that
       position to do gender-neutral . . .

 (Emphasis added).

                                    February 1, 2024

       34.    On February 1, 2024, Defendants held an earnings call to discuss

 Merck’s fourth quarter fiscal year 2023 results. Defendants briefly touted Gardasil’s

 growth in the fourth quarter, noting the “Vaccines portfolio delivered excellent

 growth led by GARDASIL, which increased 27% to $1.9 billion, driven by global

 demand, particularly in China” (emphasis added).

       35.    During the question-and-answer segment, Defendants discussed

 Gardasil’s growth and revenue opportunities in China, in pertinent part, during the

 following exchange:

       <Q: Adam Jolly – Wolfe Research, LLC – Research Analyst> This is
       Adam on for Tim. On GARDASIL, a 2-dose regimen was recently
       approved in China. We're wondering if that poses a revenue problem.
       Potentially, it doesn't, if it just means that more supply gets spread out
       across more people, and Merck ends up selling just as many doses in
       total. Can Merck share its perspective here?

       <A: Robert M. Davis> No, Adam, thanks for the question. So there's
       actually been Chinese competitors with an offering for some time
       actually in the Chinese market. And that market is large. We continue
       to believe in the eligible cohorts in just the urban females, which is
       the Tier 1 to Tier 3 cities, is about 200 million -- a little over 200 million
       women. And so of that, we think probably about 30% have actually
       received vaccination. So you're still looking at 120 million, 130
       million eligible population.



                                            17
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 18 of 60 PageID: 18




       As we look at this and as we've seen over time, we continue to be very
       competitive. We're maintaining a vast majority of share in the private
       market. And really, you're seeing most of the local competitors go to
       the lower-tier cities and to a different population than we've been
       targeting. So that does not change our view of the growth potential in
       China long term. Obviously, we will continue to face competition there,
       and we are positioning ourselves to continue to succeed there. But the
       approval you're talking about is not changing our view.

       <A: Caroline Litchfield> The only thing I add, if I may, is we have
       significant opportunity to protect further females in China. At the end
       of 2023, we also submitted to the regulatory authorities our data on
       GARDASIL for males. So we're hopeful to introduce that in the
       Chinese market in the future.

 (Emphasis added).

                                    April 25, 2024

       36.    On April 25, 2024, Merck issued a press release reporting first quarter

 fiscal year 2024 results. During the earnings call that followed, Defendants disclosed

 that they anticipated a reduction in Gardasil shipment to China during the second

 quarter due to the acceleration in shipments during the year-ago quarter, stating in

 pertinent part:

       Our vaccines portfolio delivered strong growth, led by GARDASIL,
       which increased 17% to $2.2 billion, driven by global demand. Sales
       also benefited from the timing of shipments in China and CDC
       purchasing patterns in the U.S. VAXNEUVANCE sales grew to $219
       million, driven by continued uptake of the pediatric indication in the
       U.S. and ongoing launches in international markets, particularly in
       Europe. In the U.S., VAXNEUVANCE sales also benefited from CDC
       purchasing patterns. Sales in our Animal Health business grew 4%.
       Livestock sales growth was driven by price actions as well as demand



                                          18
Case 2:25-cv-01208-JXN-AME    Document 1      Filed 02/12/25   Page 19 of 60 PageID: 19




       for swine and poultry products. Companion animal growth reflects
       price actions.

       ...

       As you consider your models, there are a few items to keep in mind.
       The increase in our sales guidance is driven by the strong performance
       across our current product portfolio, led by KEYTRUDA, which
       continues to experience growth from additional indications and patient
       demand. For GARDASIL, second quarter ex U.S. growth will be
       adversely impacted by shipment timing to China. This year, we expect
       more evenly distributed quarterly shipments to China. Recall, in 2023,
       we accelerated shipments from the second half to the first half of the
       year, which primarily impacted the second quarter. Over the near and
       long term, we remain confident in our ability to protect many more
       people from HPV-related cancers and drive growth of GARDASIL.

 (Emphasis added).

       37.   Defendants elaborated further on the near-term headwind to

 distribution during the question-and-answer portion of the call in the following

 pertinent exchange:

       <Q: Christopher Thomas Schott – JPMorgan Chase & Co. – Senior
       Analyst> Just a couple of GARDASIL questions. You're pointing to a
       more evenly distributed China sales this year, and it seems like a
       tougher 2Q comp. But can you just directionally talk about growth for
       GARDASIL more broadly for the year? I guess the heart of it is still a
       healthy growth asset for you this year. And the second one on
       GARDASIL is if we were to move to a single dose of GARDASIL-9,
       what does that mean commercially and from a sales perspective for the
       franchise?

       <A: Caroline Litchfield> Chris, it's Caroline. So in terms of the
       phasing of GARDASIL, as you pointed out, during 2023, we saw in
       China an acceleration of the shipment from the second half of the
       year to the first half of the year, specifically to the second quarter.
       What that's done is it's provided an actual tailwind to revenue growth

                                         19
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 20 of 60 PageID: 20




       in the first quarter for China, but it will provide a headwind more
       significant in the second quarter. And that's what we've called out.

       As we look at overall growth for GARDASIL, given where we are with
       the level of vaccinations across the world, given the manufacturing that
       we have been scaling up, we're confident in our ability to continue to
       drive growth during 2024. And in 2025, we will see our
       manufacturing capacity unconstrained so enabling us to further
       supply and support the market.

       As we've talked in the past, our opportunities for growth are significant
       as we look to continue to improve on adolescent vaccination rates, as
       we look to improve upon gender-neutral vaccinations, as we look to
       really activate the mid-adult segment, but increasingly get to the lower-
       income and middle-income markets, which will come at a different
       price point.

       As we sit here today, continue to be confident in the outlook for
       GARDASIL over both the near and the long term. As we look at the
       possibility of a single dose of GARDASIL, the study that we are
       conducting will be a comprehensive study and will take some time to
       unfold. What we're seeing in the marketplace currently is where
       certain low-income markets are implementing a single-dose regimen,
       they are also increasing the numbers of people they are vaccinating
       by broadening the age cohort or also opting to vaccinate males at this
       stage. We'll have to be long term how the data plays out with regards
       to a single dose to ensure that we will price our vaccine based on the
       benefit that we're bringing and we vaccinate as many people in the
       world that we can.

 (Emphasis added).

       38.   The above statements in Paragraphs 25 to 37 were false and/or

 materially misleading. Defendants created the false impression that they possessed

 reliable information pertaining to Merck’s projected revenue outlook and anticipated

 growth of Gardasil while also minimizing risk from competition and drug approval


                                          20
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25   Page 21 of 60 PageID: 21




 developments, such as China’s approval to shift Gardasil to a 2-dose regimen. In

 truth, Merck’s optimistic reports of growth, claims of successful consumer activation

 and education in China, overall ability to drive demand, and efforts to downplay the

 impact of competition on Gardasil fell short of the reality; the Company’s ability to

 push Gardasil in China had materially diminished.

 Merck Reveals Reduced Gardasil Outlook for the Remainder of Fiscal Year 2024

                      During its Second Quarter Earnings Report

                                     July 30, 2024

       39.    On July 30, 2024, Defendants announced significant and allegedly

 sudden setbacks to Gardasil sales in China from Zhifei to purchasers down the

 distribution chain during their second quarter fiscal year 2024 earnings call, stating

 in pertinent part:

       Our vaccines portfolio delivered solid growth. GARDASIL sales
       increased 4% to $2.5 billion. In the U.S., sales benefited from price as
       well as demand and favorable CDC purchasing patterns. Outside the
       U.S., higher demand across many international markets was partially
       offset by the timing of shipments to China

       ...

       For GARDASIL, over the past few years, we've benefited from
       extremely strong demand in China, including from the expanded
       indication for GARDASIL 9 to the 9- to 45-year age cohort in late 2022.
       In the second quarter, however, there was a significant step-down in
       shipments from our distributor and commercialization partner, Zhifei,
       into the points of vaccination compared with prior quarters, resulting
       in above normal inventory levels at Zhifei. We are working closely
       with them to more fully understand the dynamics that caused this

                                          21
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 22 of 60 PageID: 22




       change. As we learn more, we will assess future shipments to our
       partner and work to bring their inventory back to more normal levels.
       If shipments from Zhifei into the points of vaccination do not increase,
       it is likely that we will ship less than our full year 2024 contracted
       doses by the end of this year.

       We believe the opportunity in China remains very attractive as there are
       more than 120 million females in the addressable population living in
       Tier 1 to Tier 5 cities who have not yet received the protection of an
       HPV vaccine. As we said before, it will take increasing efforts to
       educate and activate the next wave of patients. Together with Zhifei,
       we are focused on and committed to investing in additional resources
       and patient education on the value of GARDASIL given the important
       benefit it provides. We also look forward to the potential approval for
       males, which we believe represents a meaningful opportunity.

       More broadly, we remain confident in the opportunity for GARDASIL
       globally based on the protection it provides against HPV-related
       cancers and low immunization levels overall, and continue to believe
       we will achieve sales of over $11 billion by 2030. Our initial launch of
       WINREVAIR is having a positive impact for patients. We are very
       pleased with its performance and look forward to supporting more
       patients in the U.S. and across the globe.

 (Emphasis added).

       40.   During the question-and-answer portion of the call that followed,

 Defendants elaborated upon the setbacks disclosed in their prepared remarks while

 remaining confident in their long-term projections for Gardasil as follows:

       <Q: Christopher Thomas Schott – JPMorgan Chase & Co. – Senior
       Analyst> Congrats on the progress. I just want to kick off with just a
       question on GARDASIL dynamics in China. Maybe just a two-part
       question here. First, can you quantify what percent of your international
       sales are coming from China? And just any additional color on what
       drove the step-down in 2Q? I'm just trying to get my hands around this.
       And maybe as part of that, the 2024 guidance update, is the potential
       for shipments to come below the 2024 contracted doses now reflected

                                          22
Case 2:25-cv-01208-JXN-AME     Document 1     Filed 02/12/25   Page 23 of 60 PageID: 23




       in that guidance? Or would that represent an incremental headwind to
       numbers to the extent that played out?

       <A: Robert M. Davis> Great. Thanks, Chris, and thanks for the
       question. And I'll maybe take the first part and then ask Caroline to
       comment on guidance. To your question, China represents about -- for
       GARDASIL of about 60% to 70% of the numbers. So that kind of gives
       you a sense of it. But maybe to give some context on what we saw in
       the quarter, and as we look to the full year and where we see things
       going. So let me start maybe by talking a little bit about the dynamics.

       The opportunity that exists for GARDASIL in China remains very
       attractive with more than 120 million eligible females in China yet to
       be protected against HPV, which represents about 60% to 70% of the
       eligible population. And I think we all recognize the benefits of
       protection against HPV-related disease is clear and importantly,
       aligns with China's Healthy 2030 initiative. So the underlying support,
       we continue to believe is there.

       In addition, we have filed for the male indication, which has been
       accepted and represents another significant opportunity. So as we
       think about China, I just want to set the context because I think it's
       important to understand, we continue to have a very meaningful
       opportunity in the China market. What's unclear to us and what we're
       trying to understand is that during the second quarter, we saw a
       significant step-down in shipments from Zhifei to the points of
       vaccination.

       The reductions during the second quarter was surprising, and I would
       point out was a meaningful departure from prior trends we've seen
       both throughout really all of 2023 and into the first quarter of 2024.
       So as we look at this, we're wanting to understand what would cause
       the trend break we saw. And I can tell you what we know as of now is
       we believe there could be multiple factors that may be contributing to
       this dynamic, and we're working closely with our partner to try to tease
       out what exactly is happening.

       But overall, the data we track indicates that the whole HPV market in
       China experienced this step-down. So this is not a Merck-specific event.
       And importantly, we see the market share for GARDASIL as stable or

                                         23
Case 2:25-cv-01208-JXN-AME      Document 1       Filed 02/12/25   Page 24 of 60 PageID: 24




       actually increasing right now in the marketplace. We don't believe this
       step-down, therefore, represents any change in the competitive
       dynamic, and GARDASIL remains by far the market leader. We do
       believe, however, that based on the intelligence we've gathered, activity
       in the HPV vaccine area has been recently impacted by China's anti-
       bribery and anti-corruption drive which, as you know, started really last
       year.

       And up to that point, we really haven't seen much impact, but we do
       believe we are starting to see it now. And this is really driven by the
       fact that in the health care industry, there has been, as a result of this, a
       reduction in scientific engagement, primarily in the CDC within China
       and fewer immunizations. So we need to tease that out more. And in
       addition, we did see reduced levels of promotional support for HPV
       vaccination at the same time that our distribution partner, Zhifei,
       broadened its portfolio. So we'll need to get more into that.

       But obviously, we have a very strong relationship with Zhifei, and we
       already have started to put in place a robust plan to invest in increased
       promotional efforts really designed to drive awareness, education and
       activation of the remaining female opportunity. And this includes
       both resources at Zhifei and more selling resources and promotional
       resources as well as promotional resources being deployed directly
       from Merck. So as we look forward, we'll have to see how all of these
       activities impact shipments to the point of vaccination. And as we
       learn more, we'll assess future shipments to China with our partner. So
       hopefully, that gives you a sense of what we're seeing.

       But I just would reiterate one other point. And that's, that as we look
       to the long term, given both the opportunity in China, I mentioned for
       the 120 million remaining females as well as the potential for the male
       indication, outside of China, we saw double-digit growth across all
       regions in the quarter. So we continue to be on track, doing well and
       driving growth in this important vaccine. And that's why you heard
       Caroline in our prepared comments reiterate our confidence in the
       $11 billion number by 2030, even taking into account what we saw
       China happening in China this quarter.

       So with that, maybe I'll turn it over to Caroline and she can address your
       guidance-specific question. Caroline?

                                            24
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 25 of 60 PageID: 25




       <A: Caroline Litchfield> Thank you, Rob. So Chris, in terms of our
       guidance, we've assumed a range of scenarios, from providing the
       fully contracted 2024 doses during this year to providing something
       less than that. If I anchor to the midpoint of our guidance, we have
       been measured in assuming a scenario that has less than the
       contracted 2024 GARDASIL doses shipped to China. And even with
       that, we were able to raise our guidance at the midpoint by $200 million.
       And that's really as a result of the underlying momentum that we have
       in the rest of our business, including oncology, with KEYTRUDA and
       WELIREG. It includes Animal Health with the launch of BRAVECTO
       in injectable as well as the acquisition of the Elanco aqua business. And
       we remain confident in our outlook for WINREVAIR and the
       opportunities to drive patient impact and growth consistent with our
       high expectations.

       ...

       <Q: Umer Raffat – Evercore ISI Institutional Equities – Senior MD &
       Senior Analyst of Equity Research> Can I just dial down the
       GARDASIL point just a little more? Rob, I know you mentioned there's
       an anti-bribery, anti-corruption drive going on in China, which started
       last year. But it also feels like some of the shipment delays are
       happening, perhaps a few months ahead of potential competition hitting
       the market as well. So could you speak to whether there's any future
       contracting happening and whether your long-term price integrity will
       stay intact on GARDASIL in China?

       <A: Robert M. Davis> Yes. No, thanks for the question. So everything
       we're seeing in the marketplace, I would just reiterate, would point to
       dynamics that we don't see the competition, the future potential
       competition. I think you're referring to the fact that we very well could
       see a 9-valent sometime next year come into the marketplace. So I don't
       believe from anything we've heard in the marketplace, from
       competitive intelligence as well as what we're hearing from Zhifei that,
       that is what's happening here.

       As we look forward, and Caroline can comment specifically, we have
       always expected that as we see the peak move through from the
       indication we got for the expansion of the age cohort, that you would

                                          25
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 26 of 60 PageID: 26




       see a flattening out over time of the demand in China. And then that,
       for women, specifically, and then we would bring on the male
       indications that should allow us then to continue to drive the business
       forward from there. Nothing has changed in that dynamic in what
       we're seeing right now. So as we look forward, our belief in China
       being a significant contributor is unchanged.

       But I'll let -- maybe Caroline can speak specifically as we're thinking
       about some of the guidance around how we think about next year.

       <A: Caroline Litchfield> So what I would add is we have always
       contemplated that we would have a 9-valent competitor within the
       Chinese market. As such, the current contracted doses with Zhifei for
       2025 are less than what the contract is for 2024, as we would expect
       to participate in that market but understand a competitor would likely
       gain share in that market. We also, though, as we said in the prepared
       remarks, has the potential opportunity of a male launch in China.
       And we are hopeful for an approval with GARDASIL 4 and 9 by first
       half of next year, and be coming to the market at that stage. So we are
       confident that China will remain an important part of our
       GARDASIL business as we move forward and, more importantly, are
       confident in the opportunity to drive GARDASIL longer term, the $11
       billion that we've stated.

       ...

       <Q: Timothy Minton Anderson – Wolfe Research LLC – Managing
       Director of Equity Research> Just going back to GARDASIL. I know
       you're reiterating your $11 billion figure, at least $11 billion in 2030.
       The shape of the curve over that time in China specifically, which is
       only a part of that number, are there likely to be periods where year-on-
       year sales actually contract beyond 2024 and the inventory issue?
       Because it does seem like pricing is really going to be a risk here, the
       way pricing works with vaccines in China. And some of these other
       offsetting indications like males are going to take time to launch. So it
       seems like there may be periods there where you could have year-on-
       year declines in sales over the next, let's say, 5 or 6 years. So if you
       could just describe the shape of that curve, please?



                                          26
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 27 of 60 PageID: 27




       <A: Robert M. Davis> Yes. Sure. So as we look at it, we do expect you
       will see a flattening of the curve, as we see the female indication be
       more fully penetrated. Obviously, more to go there, given what we
       believe is still the addressable population. And then it will ramp back
       to growth as the male population comes on in full. So that is what
       we're expecting to happen.

       And on the pricing point, I think it's just important to understand the
       way this market works and how we operate in the market. We sell into
       Zhifei. Zhifei then is responsible for doing the bidding with the
       provinces, and actually then determining ultimately that end sale to the
       point of vaccination. As we look forward, I think it's important to
       understand that GARDASIL as we think about the addressable
       population, we continue to believe, will be a highly sought-after
       vaccine even in the face of competition. And we're dealing in an overall
       population when we quote the 200 million total females, of which we
       would say we're 30% to 40% penetrated today. That's really in the Tier
       1 to 5 cities that we think can afford a cash pay market. The total
       population accessible in China is much bigger.

       And so I don't think we should assume we're all competing for that
       small slice. There's a much bigger slice we've chosen not to go for
       that bigger piece because obviously, we can't get into the local
       vaccination program because we don't produce GARDASIL in China.
       Our competitors will be able to do that. So I think I would just caution
       all to not view it as a zero-sum game.

       I think there's still a market expansion opportunity in China that will
       benefit both us and the competitors. And frankly, the other thing we
       have to see is how quickly will the male indication be given to others
       beyond us. We believe there's a chance we could be [ sitting alone
       with that ] as well. So the dynamics need to play themselves out. But
       I think we need to first understand is what we're seeing in the quarter
       specific, a short-term event or something else.

       And that's still not clear because I would just point that the trend break
       was pretty significant. It's not what we've seen in any of the markets
       that you would expect. And that's why we're a little hesitant to say this
       is just demand in China. And also, I would also bring back the fact that
       actually, if you separated out what happened in China, we had one of

                                          27
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 28 of 60 PageID: 28




       our strongest quarters in every other market around the world and with
       strong double-digit growth. So that's -- those are all dynamics that will
       have to play themselves out.

       ...

       <Q: Mohit Bansal – Wells Fargo Securities, LLC – Senior Equity
       Analyst> And just trying to understand the long-term growth path for
       GARDASIL, it seems like, and correct me if I'm wrong, [ a lot felt ] it
       would depend on raising awareness in those Tier 1 to 5 cities and male
       vaccinations. So the question is, of those Tier 1 to 5 cities, where do
       you think there is bigger opportunity? Because, I mean, going to Tier 4
       and 5 could be challenging. And then based on your male vaccination
       experience in the developed world, how should we think about China
       in that context?

       <A: Robert M. Davis> Yes. So if you look across the Tier 1 to 5 cities,
       we're actually -- when we quote that we're 30% to 40% penetrated, and
       again, this is just to the females. So this is -- we're only speaking to
       females right now. We're 30% to 40% penetrated. We're a little bit
       less penetrated. I think we're on kind of say, 30th percent in the 4-
       and 5-tier cities, and we're around 40% in the 1 to 3. So there's not a
       huge spread between the Tier 1 to 3 and the 4 to 5. So we will continue
       to focus efforts across all of those areas as we have been to date.

       And then it's a whole different exercise to activate the male
       population across that same area which is, frankly, doesn't -- isn't
       there today because of the fact that we don't yet have the indication.
       As you think about how all of this fits into the broader global picture, I
       think it's also important just to remind everyone that the total
       penetration of GARDASIL on a global basis to the eligible population
       is approximately 10%. So our opportunity to activate patients globally
       as we bring on additional capacity is significant.

       And as we've talked about in the past, we were going to continue to
       look to activate the mid-adult segment in the private market. We're
       doing that today in Europe, and that's part of when I comment that we're
       driving double-digit growth across the rest of the world outside of
       China. Part of it is we are starting to see uptake in that private market


                                          28
Case 2:25-cv-01208-JXN-AME      Document 1       Filed 02/12/25   Page 29 of 60 PageID: 29




       activation, both in Europe and across parts of Latin America and Asia
       Pacific more broadly.

       We're going to continue to drive into the low- and middle-income
       markets. We see that as a meaningful opportunity going forward, and
       we are well on our way to getting our costs in a position to be able to
       compete in that space quite effectively. We will continue to drive that.
       And then obviously, while China is the best example of where we need
       to get a male indication to drive for gender-neutral vaccination if we
       truly want to eliminate cervical cancer and increasingly address the
       other cancers we know related to people with HPV, including head
       and neck cancers which are very prominent, especially if you look
       across the Asia Pacific area, that is work we will continue to do. But
       not only in China and across Asia, but also across Europe, in other parts
       of the world where there's still is a lot of opportunity to drive for gender
       neutral.

       And then lastly, Japan is a market where we are continuing to see
       growth driven by the fact that we've had a renewed NIP program there
       with both an initial NIP and the catch-up phase and longer term, an
       opportunity for males there as well. So the opportunities are significant.
       The context of how we will drive growth has multiple levers for us to
       look at to do that. And that's why we are confident in the $11 billion
       number long term. And I think that's important as we shape the
       overall context of the discussion.

       ...

       <Q: Akash Tewari – Jefferies LLC – Equity Analyst> And really
       helpful color on GARDASIL. Just one more here. Looking at the latest
       Zhifei contract, it looks like there's around $4.5 billion in potential sales
       for 2024. That's projected to decline in 2025 and 2026 to around $2.5
       billion. Historically, however, it looks like you've always exceeded that
       contracted figure. So just to be clear, does the contracted decline in
       sales over the next 2 years bake in the upside for potential male
       approval? And should we expect the Zhifei contract to get renegotiated
       as we get further clarity on demand?

       <A: Caroline Litchfield> Thank you for the question. So the Zhifei
       contract that we have at this stage is focused on the current approval

                                            29
Case 2:25-cv-01208-JXN-AME     Document 1     Filed 02/12/25   Page 30 of 60 PageID: 30




       that we have in the market. So it's really focused on the female
       population in the age cohort 9 through 45. As we move forward and we
       have a male indication, we will, of course, be working with our
       partner to have the appropriate doses so that we can protect as many
       males as possible.

 (Emphasis added).

       41.   In closing remarks, Defendant Davis pertinently concluded regarding

 Gardasil as follows:

       . . . But I maybe would close by just bringing back the confidence we
       see in the business, both in the short term and the long term. Obviously,
       we'll work through what we see happening with GARDASIL in China.
       But the fact that we see strengthening, and I would call them green
       shoots around GARDASIL everywhere else in the world, gives us
       confidence in the $11 billion for that, as we've talked about . . .

 (Emphasis added).

       42.   The aforementioned press releases and statements made by the

 Individual Defendants are in direct contrast to statements they made during the

 alleged false and/or materially misleading statements identified above., In those

 statements, Defendants continually praised Gardasil’s global demand, the

 opportunity of the eligible population of women in China, the Company’s success

 with consumer activation and education in China, while continually minimizing

 risks associated with demand, competition, contract minimums, and the impact of

 China’s approval of the 2-dose regimen in early 2024.

       43.   Investors and analysts reacted immediately to Merck’s revelation. The

 price of Merck’s common stock declined dramatically. From a closing market price

                                         30
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25   Page 31 of 60 PageID: 31




 of $127.78 per share on July 29, 2024, Merck’s stock price fell to $115.25 per share

 on July 30, 2024, a decline of about 9.78% in the span of just a single day.

       44.    A number of well-known analysts who had been following Merck

 lowered their price targets in response to Merck’s disclosures. For example, Wells

 Fargo, while retaining their “equal weight” rating highlighted their concern, stating:

 “While mgmt. tried to reassure investors by reiterating the >$11B Gardasil guidance

 for 2030, it does not help when the consensus was $13B. In addition, the mgmt

 comments including 1) focus on creating awareness and 2) male vaccinations driving

 future growth create uncertainty around near-term trajectory.” The analyst went on

 to note that “Gardasil China has been and was expected to be a key growth driver

 for the stock. $2B lower sales in 2030 bring down 2024-30 sales CAGR from 3% to

 2.5%.”

       45.    Similarly, Guggenheim, while reducing their price target, cautioned

 that they were “significantly decreasing our Gardasil ex-US revenue estimates …

 and this is the main driver of our lower price target for MRK shares.” The analyst

 noted this reduction was based upon “the sudden nature of this news, the low

 visibility we have into the Chinese market, the long-term importance of Gardasil to

 MRK’s outlook, and a likely near-term competitor entrant into this market next year.”

       46.    The fact that these analysts, and others, discussed Merck’s shortfall and

 below-expectation projections suggests the public placed significant weight on


                                          31
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25   Page 32 of 60 PageID: 32




 Merck’s prior revenue and sales estimates. The frequent, in-depth discussion of

 Merck’s guidance confirms that Defendants’ statements during the Class Period

 were material.

       47.    Notwithstanding Defendants’ disclosures during the call, they

 continued to mislead investors by misrepresenting their understanding of the issues

 surrounding the slowdown in Gardasil vaccinations in China and Merck’s partner’s,

 Zhifei’s, inflated inventory levels. In doing so, the Defendants deceptively claimed

 confidence in Gardasil’s continued growth in China, both in the existing eligible

 population of women and the planned expansion following approval for male

 vaccinations, particularly as it relates to Merk’s ability to achieve $11 billion in

 worldwide Gardasil sales by 2030. Defendants further promoted their efforts to

 further assist Zhifei by increasing promotional and education efforts to the eligible,

 targeted population and noted that such efforts, coupled with the reduced shipments,

 had reduced the overall channel inventory. While Defendants indicated Merck’s plan

 to continue such efforts and maintain similarly reduced shipping levels in the fourth

 quarter, they made no indication of any further planned cuts to the distribution of

 Gardasil to China.

                                  October 31, 2024

       48.    On October 31, 2024, Defendants published their results for the third

 quarter of fiscal year 2024. During the earnings call that followed, Defendants


                                          32
Case 2:25-cv-01208-JXN-AME     Document 1     Filed 02/12/25   Page 33 of 60 PageID: 33




 discussed the ongoing issues in China but reaffirmed they still believed they would

 achieve $11 billion in sales by 2030:

       As anticipated, results also reflect a decline in GARDASIL sales year-
       over-year. Notably, however, we achieved strong double-digit growth
       for GARDASIL in almost every major region outside of China.

       In China, consistent with the expectations we discussed on our prior
       earnings call, we shipped less to our commercialization partner,
       Zhifei, and we expect fourth quarter shipments will be at a similar
       level to the third quarter. Overall channel inventories of GARDASIL
       have decreased, which is directionally encouraging, while inventory at
       Zhifei remains above historical levels. We are highly focused on this
       market and are making progress with Zhifei to increase promotional
       resources and patient education efforts. We expect these efforts to
       translate to increased patient activation and demand, but as we've said,
       this will take time.

       Taking a step back, we're proud of the role that GARDASIL is playing
       in helping prevent certain HPV-related cancers. There's a wide range of
       long-term growth opportunities around the world due to the tremendous
       remaining need to protect more individuals, with less than 10% of the
       global eligible population vaccinated and meaningful opportunities to
       improve vaccination completion rates, gender-neutral vaccination rates,
       mid-adult coverage and access in low- and middle-income markets.
       This includes in China, where there is an attractive long-term
       opportunity, given the significant number of females yet to be
       immunized and the potential approval for males next year. We're
       highly focused on using our scale and strong capabilities to drive
       education and awareness of the benefits of HPV vaccination and to
       reach and protect more patients globally. As such, we remain
       confident in our goal of achieving greater than $11 billion of sales by
       2030.

 (Emphasis added).

       49.   A question-and-answer segment followed the Defendants prepared

 remarks and was heavily focused on discussions surrounding the ongoing issues with

                                         33
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 34 of 60 PageID: 34




 Gardasil in China. For their part, Defendants remained confident in Gardasil’s

 growth potential in the region, as indicated in the following pertinent exchanges:

       <Q: Trung Chuong Huynh – UBS Investment Bank – Analyst> Just on
       GARDASIL, given the inventory levels remain elevated, you've noted
       this declining demand. How should we think about dynamics as we
       head into 2025, given that increase in promotional activity, but that's
       balanced by the inventory work down? Will you take time? Or do you
       have any color on when we'll see an inflection to that returning growth?

       <A: Robert M. Davis> Great. Thanks for the question. Obviously,
       we're very focused on GARDASIL in China. But maybe just to step
       back for a second, we continue to be very proud of the contribution that
       GARDASIL is making for patients and people around the world to
       really address and hopefully eliminate long-term cervical cancer as well
       as other HPV-related cancers. So that important work will continue.
       And importantly, as we commented in our prepared remarks, while
       China did decline, and I'll speak to China in a second, overall, we saw
       strong double-digit growth in really nearly every other region around
       the world, which is showing the progress we're making and which is
       why we continue to have such confidence in the long-term potential for
       this.

       But as it relates to China specifically, and as we think about 2025, I
       don't want to give specific guidance because obviously, we're still
       working through our 2025 plan. But what I would say is we do expect
       to continue to see a decline in shipments into China into 2025. And
       as we had highlighted before, this is happening a little bit earlier than
       we originally expected. But we had always expected that over time, as
       we work through the bolus, we would see the female opportunity
       decline and then hopefully seeing growth come with bringing the
       male opportunity, which we would expect to see with approval,
       assuming it comes next year. So that's how we see it progressing.

       So as we think about 2025, we see China really in the $2 billion to $3
       billion range as far as an opportunity for 2025 and for the next several
       years with the opportunity in males really being the growth driver.
       And at that level, we would expect for overall Merck that you're going
       to continue to see, based on the portfolio we have, solid growth. So I

                                          34
Case 2:25-cv-01208-JXN-AME     Document 1     Filed 02/12/25   Page 35 of 60 PageID: 35




       think that's just important to kind of frame where we're seeing things
       but understanding we're focused on this, we're bringing our efforts to
       drive demand and we're going to make progress. We are making
       progress, but it's going to take some time.

       ...

       <Q: Christopher Thomas Schott – JPMorgan Chase & Co – Senior
       Analyst> Just another one on GARDASIL. Rob, I believe you said kind
       of $2 billion to $3 billion per year opportunity for China over the next
       few years. Just a couple of quick ones there. First, what does that
       compare to where China is going to shake out for Merck this year? And
       is that $2 billion to $3 billion number what was reflected in the $11
       billion longer-term target?

       <A: Robert M. Davis> Yes. So to give you just a sense of where we are,
       and we don't normally give product-level guidance or specifics on a
       quarterly basis. But given the importance and focus on GARDASIL,
       just to give you a sense of where we were with China GARDASIL in
       the third quarter, it's about approximately $500 million in the third
       quarter. And as we said, we would expect to ship about the same
       amount in the fourth quarter. So you should expect that the fourth
       quarter itself would also be in that $500 million range. And so that
       kind of gives you a sense of where we are.

       So as you look forward to 2025, obviously, as we think in 2025 and
       over the next several years, if you're running in that $2 billion to $3
       billion range, that's why we made the comment that with that and
       given the other opportunities we see around the world, we remain
       confident in our ability to get to the $11 billion by 2030. So we are
       contemplating that $2 billion to $3 billion over the next several years
       in China as the contribution that it would make to get us to where we
       need. Understanding also that long term, we do expect to be able to
       have the potential for growth driven by the male opportunity in China
       and then, obviously, continuing to drive more broadly around the rest
       of the world.

       ...



                                         35
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 36 of 60 PageID: 36




       <Q: Terence C. Flynn – Morgan Stanley – Equity Analyst> Great.
       Maybe just one question and one clarification. Just on the GARDASIL
       side, Rob, that's the $2 billion to $3 billion includes the males or it does
       not include the males? Sorry, I was a little unclear based on the last
       response . . .

       <A: Robert M. Davis> Yes. So I'll take the first part of that question,
       Terence. So the answer is yes. the $2 billion to $3 billion over the next
       several years does include male, but we have the opportunity as you
       look longer term to drive growth with that opportunity. That was
       really the point we were trying to make.

       ...

       <Q: Umer Raffat – Evercore ISI Institutional Equities – Senior MD &
       Senior Analyst of Equity Research> I have -- I wanted to focus on
       GARDASIL just a little more. That was very helpful commentary, Rob.
       You mentioned $500 million in sales in 3Q and 4Q to China, which
       obviously is $2 billion run rate. My question is, was that shipping to
       demand? Because if so, what that means is inventory sitting at your
       [indiscernible] is still something that would need to be worked down in
       2025 as well as possible 9-valent generic entry -- sorry, 9-valent local
       competition entry in 2025 as well. How do you factor those 2 dynamics
       into thinking about the 2025 number of $2 billion to $3 billion in China?

       <A: Robet M. Davis> Yes. So if you look at what's happening in the
       overall marketplace and just to give you a sense, from an inventory
       perspective, maybe starting there. If you look at overall inventory
       levels in China, they did come down. And that's taking into account,
       and this is for GARDASIL. GARDASIL at Zhifei, which frankly
       remains high and grew slightly, but that was more than offset by
       reductions in the CDCs and the points of vaccination. So that's a good
       sign that we're seeing overall inventories coming down, which also
       would point to the fact that as we're looking at demand, which we're
       seeing stabilize, we think we're at a position now whereas we're starting
       to talk about what we're shipping. Our expectation is we are shipping
       below demand.

       So we have been working very constructively with Zhifei to think about
       this, both as what we're doing in this year is, frankly, as well as we're

                                           36
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 37 of 60 PageID: 37




       continuing to have constructive dialogue around 2025. Our intention
       would be to balance the need to get product into the marketplace to
       meet the demand at the same time, allowing for Zhifei to bring down
       their inventories over time. So we're very thoughtful on how we're
       thinking about it, and we've done that, taking into account our
       expectations of both the female competitive launch that could come
       next year, but also the opportunity that a male approval early next
       year could allow us to have. So all of those factors are in as we think
       about that $2 billion to $3 billion number.

       ...

       <Q: Stephen Michael Scala – TD Cowen – MD & Senior Research
       Analyst> I mean all things considered, is it still possible to see global
       GARDASIL growth in 2025? And Rob, you noted at the start that
       recovery in China will take time, but it sounds like you have good
       visibility now because you're giving this $2 billion to $3 billion
       guidance for GARDASIL in China. So I'm unclear what it is that we're
       waiting for.

       <A: Robert M. Davis> Well, what we're talking about taking time is
       basically to work down the inventory and to then build demand over
       time so that we can continue to drive that market. What we're giving
       you is kind of what we see as the baseline of China. Our hope is that
       we'll do better. And we're going to put the work in to do better and to
       continue to drive long term. I think that what I'm trying to make sure
       everyone hears is this isn't going to be solved next quarter. It's going to
       take us through probably 2025, but we're thoughtful on how we're doing
       it. We're working with Zhifei in a constructive manner to do it. So those
       are the elements are going to take time because we need to build the
       demand. We know the opportunity is there with 120 million females
       still out there to go after and with potentially 200 million males with
       the male opportunity. We have to activate that demand to make sure
       we can drive that business. So that's really what we're focusing on.

       As far as it relates to GARDASIL for 2025, I don't think we really want
       to get into giving product line guidance right now. We were very
       specific to China because of the concerns that were there. And I wanted
       to make sure you know that we see solid overall growth for Merck


                                           37
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 38 of 60 PageID: 38




       because that's important to have context. But beyond that, we normally
       wouldn't be giving guidance at this point in time.

 (Emphasis added).

       50.    The above statements in Paragraphs 39 to 41 and 48 to 49 were false

 and/or materially misleading. Defendants created the false impression that they

 possessed reliable information pertaining to the Company’s projected revenue

 outlook and anticipated growth of Gardasil while also minimizing risks arising from

 competition to and the approval of reduced dosage regimens. Defendants continued

 claims that the opportunity in China remained strong, that their newfound ability to

 provide the vaccine to men could be relied upon to boost demand, that competition

 was not inhibiting Gardasil’s demand, all continued to fall short of the reality of the

 situation. Despite Merck’s claims of worldwide demand and success, the company

 was simply not positioned to reach the purported $11 billion in Gardasil sales by

 2030 without unimpeded growth in China. Defendants misled investors by providing

 the public with materially flawed statements of confidence and growth projections

 which did not account for these variables.




                                           38
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25    Page 39 of 60 PageID: 39




     The Truth Emerges during Merck’s Fourth Quarter Fiscal 2024 Earnings

                                       Report

                                  February 4, 2025

       51.   In the morning of February 4, 2025, Merck published its fourth quarter

 fiscal year 2024 results, unveiling further declines in worldwide sales and the

 approval of Gardasil for men in China:

       GARDASIL/GARDASIL 9 Sales Declined 3% to $8.6 Billion;
       Excluding the Impact of Foreign Exchange; Sales Declined 2%

       ...

       Received approval of Gardasil for Males in China, in January 2025.

       52.   In the Company’s 10-K, Merck further noted that the Gardasil

 “[d]ecline [was] primarily due to lower demand in China, partially offset by higher

 demand in most international regions, particularly in Japan.”

       53.   Merck held an earnings call shortly after posting the results. During the

 call, Defendants further discussed the Gardasil setbacks in China, and the impact on

 the Company’s projections overall:

       Now turning to our results and outlook. We delivered strong growth in
       2024, reflecting demand for our innovative portfolio . . . We also saw
       higher demand and achieved strong sales for GARDASIL outside of
       China.

       ...



                                          39
Case 2:25-cv-01208-JXN-AME    Document 1      Filed 02/12/25   Page 40 of 60 PageID: 40




       As we close out 2024 and entered 2025, the market dynamics for
       GARDASIL in China have remained challenging. Like many other
       companies, we've seen increased pressure on discretionary consumer
       spending, including across the vaccine space more broadly, and
       demand for GARDASIL has not recovered to the level we had
       expected. As a result, overall channel inventory remains elevated at
       above-normal levels.

       In light of this and based on further discussions with our
       commercialization partner, Zhifei, over the past couple of weeks, in
       particular regarding their most recent financial disclosure and working
       capital levels, we've made the decision to take a new approach and
       temporarily paused shipments to China beginning this month and
       through at least midyear. We believe taking this action now more
       rapid reduction of inventory and help support the financial position
       of our important and valued partner.

       Importantly, we believe China still represents a significant long-term
       opportunity for GARDASIL given the large number of females and
       now males with our recent approval that are not yet immunized. And
       we remain both committed and well positioned to maximize this
       potential for the long term. Outside of China, demand for GARDASIL
       remains robust, and we expect strong growth this year and well into the
       future.

       ...

       Now turning to our 2025 non-GAAP guidance. We expect revenue to
       be between $64.1 million and $65.6 billion, representing growth [ up to
       4% ], excluding a negative impact from foreign exchange of
       approximately 2% using mid-January rates. For GARDASIL in China,
       our guidance assumes no further shipments at the low end and less
       than $1 billion at the high end. Excluding sales of GARDASIL in
       China in both 2024 and 2025 and the negative impact from foreign
       exchange, total company growth is expected to be 7% to 9%.

       ...

       Looking at GARDASIL longer term. While we believe there continues
       to be a path to the $11 billion, we feel it is prudent to withdraw this

                                         40
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 41 of 60 PageID: 41




       target given uncertain timing of an economic recovery in China. Our
       growth expectations outside of China for this important vaccine remain
       unchanged and and we are well positioned to protect more lives and
       drive strong growth beyond 2025.

       ...

       Next, to vaccines. The National Medical Products Administration of
       China approved GARDASIL to help prevent certain HPV-related
       cancers and diseases in males 9 to 26 years old. In November, at the
       International Papillomavirus Conference, we presented new clinical
       and real-world data for GARDASIL 9 that examined the prevalence of
       oral HPV infection, the burden of HPV-related head and neck cancers
       as well as rates of HPV infection in females. This evidence reinforces
       the importance of gender-neutral HPV vaccination with GARDASIL in
       adults up to age 45.

 (Emphasis added).

       54.   As a result of the disappointing announcements, the Q&A session that

 followed was heavily focused on the Company’s expectations for Gardasil, as

 discussed in the following pertinent exchanges:

       <Q: Mohil Bansal – Wells Fargo Securities, LLC – Senior Equity
       Analyst> Sorry, I joined a little bit late, but if the question -- have you
       commented on how much inventory Zhifei had at this point with
       GARDASIL? And would the decision to stop shipment, possible
       shipments for first half, would take care of the inventory? I'm just trying
       to get -- understand the demand situation in China, sir.

       <A: Robert M. Davis> Yes. Mohit, thanks for the question. We have
       not commented specifically on how much inventory Zhifei is sitting on.
       They're a public company, so we need to leave it to them to make
       comments about that. But I think the important point here is to
       understand that as we've seen the marketplace, what we intend to is to
       accelerate that drawdown. So we are planning to ship and by -- frankly,
       by not shipping February potentially through the midyear and
       essentially longer, depending on how we see the inventory come down,

                                           41
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 42 of 60 PageID: 42




       we're going to allow the underlying demand that is still there to absorb
       the Zhifei inventory and improve Zhifei's financial position and
       working capital.

       We think if we can put the inventory situation behind us, we can get to
       a more normal market dynamic, one where with the underlying demand
       and the fact you have the male indication coming, it can come back to
       growth. So the speed with which we burn that down, we'll have to see.

       But the other thing I would just highlight for context, with this rebasing,
       GARDASIL China now is about 1% of our total earnings. So it is
       becoming -- of our total revenue. So obviously, that's an important thing
       to understand. And that's why we also highlighted that if you look at
       the way the business is going to progress, as we get into the back half
       of this year and we anniversary the GARDASIL China situation, we
       will be strong growth and -- for overall more -- as well as, as we go into
       '26 and '27. And that's important because, obviously, at that point,
       anything that happens in China with GARDASIL is an upside. And
       that's really why we've decided to now rebase this, understanding it's a
       change from the direction we had taken previously.

       ...

       <Q: Geoffrey Christopher Meacham – Citigroup Inc. – Managing
       Director> Sorry to continue to harp on GARDASIL. But just, I guess,
       given the situation in China, you guys are less willing to predict the
       timing of recovery. But I guess the question, Rob, is there an inventory
       threshold that you need to see to start shipping again? I wasn't sure what
       the -- what kind of the tipping point would be for that. And maybe more
       broadly, just given the political climate towards vaccines overall,
       maybe just talk about where this TA falls in your BD or internal R&D
       priorities, if that's changed at all?

       <A: Robert M. Davis> Yes. Geoff, thanks for the comments. So on
       China, in particular, there's not a -- I don't want to commit to a specific
       inventory level. Obviously, we need to see it come down meaningfully
       from where it is. And I think by taking this action, to stop shipments
       given the demand that's there, we're going to see that happen. We just
       have to let it work itself through. Because the economy there still is soft,


                                           42
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 43 of 60 PageID: 43




       and that has led to the fact that we are seeing consumer demand
       continue to be weak.

       And so as that situation resolves, I think that will determine the speed
       with which all of this happens. But I think it's important to just
       reemphasize, going forward, by rebasing this now out, this is upside.
       This is not a core to our growth story going forward. And so that is also
       what we want to make sure people understand. I recognize it's a big
       change. And we want to do and we will do everything -- we are very
       committed and positioned well to drive growth in China. But to me, at
       this point, that will be upside for the company. And beyond that, the
       breadth of what we have will drive the growth in oncology, in Animal
       Health and with our new launches.

       To the vaccines business more broadly, we continue to believe in
       vaccines as an important area. Obviously, we have CAPVAXIVE,
       which is launching as we speak. We have plazrobumab, a monoclonal
       antibody for RSV, that we hope to get approval and see come before
       the RSV season this year. And then we have other programs in
       development, including dengue is probably one of the most significant
       other ones.

       So we continue to focus there. I wouldn't say that vaccines is a big focus
       of our BD strategy primarily because we just haven't seen that many
       opportunities in the space. But we are continuing to be committed to
       driving the R&D we're doing in this space going forward and continue
       to believe there's opportunity for it.

       ...

       <Q: Christopher Thomas Schott – JPMorgan Chase & Co – Senior
       Analyst> Another one on GARDASIL. Specific to the long-term
       guidance, I totally understand the near-term dynamics need to reduce
       inventory, but the removal of the $11 billion target is -- how much of
       this is conservatism just given the dynamics of China versus this being
       a more permanent reset of your view on the Chinese market? I'm trying
       to get my hands around that. And then as part of that answer, maybe
       just talk about GARDASEL ex China. Has there been any change in
       your longer-term views on the global opportunity ex China for the
       product?

                                          43
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 44 of 60 PageID: 44




       <A: Robert M. Davis> Yes. No, thanks for the question, Chris. So as
       you look at China, as Caroline said in the prepared remarks, we
       continue to believe there's a path to the $11 billion, but feel it's prudent
       really to withdraw the target right now because it is uncertain, both the
       timing of the recovery in China and the extent.

       That being said, if you look at the underlying dynamics that had
       always caused us to believe in the growth in China, they're still there.
       We still have the 100 million-plus women, 120 million women who
       have yet to be vaccinated in the Tier 1 to 5 cities. We have the male
       indication where we are the only company with that indication, and
       we're launching that as we speak. And obviously, that is a population
       about the same size as female. It's about 200 million if you look in the
       total potential once we're in that marketplace. So the opportunity is
       there.

       We have the near-term dynamics of the inventory and the near-term
       dynamics of the economy we need to adjust. That is why I think it's
       prudent to just say until we see that, because China was a meaningful
       part of the $11 billion, that's why we made the decision to say, let's pull
       back on the $11 billion.

       As we look at every other market around the world, for the rest of the
       world, our view remains unchanged. And as Caroline pointed out, if
       you exclude GARDASIL China, we had strong double-digit growth this
       year, again, in the rest of the world. And as we look forward, if you
       exclude China, we have strong growth coming in GARDASIL every
       year, year-on-year.

       So nothing has changed in our long-term view. We need to get the
       China situation figured out. We need to lap this market dynamic and
       figure out what the actual growth and opportunity is in China. And
       until we do that, I just want to remove this from the dialogue because
       by continuing to always come back to this, I feel like we missed so
       much else we have in the strength of our pipeline and in the growing
       breadth of our business. That is really the fundamentals of our growth
       long term, has been and will continue to be. And I want to get people
       focused there because that's where we're focused.


                                           44
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25   Page 45 of 60 PageID: 45




 (Emphasis added).

       55.    The aforementioned press releases and statements made by the

 Individual Defendants contradicted their earlier statements, including those made

 during the July 30, 2024, and October 31, 2024, earnings calls. During those calls,

 the Defendants portrayed an understanding of the issues surrounding Gardasil’s

 slowdown in China, wherein they disclosed Zhifei’s inflated inventory, presented a

 plan to reduce shipments to allow Zhifei to reduce the inventory backlog, and

 announced that such inventories were deflating as the company was purportedly

 shipping below demand levels.

       56.    Investors and analysts again reacted promptly to Merk’s revelations.

 The price of Merck’s common stock declined dramatically. From a closing market

 price of $99.79 per share on February 3, 2025, Merck’s stock price fell to $90.74 per

 share on February 4, 2025, a decline of more than 9% in the span of just a single day.

       57.    A number of well-known analysts who had been following Merck

 lowered their price targets in response to Merck’s disclosures. For example, UBS,

 while cutting their price target 12.5%, highlighted that “communication around (and

 management of) Gardasil has been uncerwhelming and overshadowed the name. We

 have now experienced three back-to-back quarters of disappointing results primarily

 driven by weak HPV vaccine demand in China which understandably frustrates

 investors and is reflected in the >$100bn market cap erased from MRK.” The analyst


                                          45
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 46 of 60 PageID: 46




 continued, “with the bottom end of guide contemplating no shipments to China as a

 worst case scenario we see Gardasil as relatively washed out at current trading levels.”

       58.    The fact that these analysts, and others, discussed Merck’s shortfall and

 further reduced projections suggests the public placed significant weight on Merck’s

 statements of prior confidence in the existence of and their ability to capitalize upon

 demand for Gardasil in China. The frequent, in-depth discussion of Merck’s

 guidance for Gardasil confirms that Defendants’ statements during the Class Period

 were material.

                         Loss Causation and Economic Loss

       59.    During the Class Period, as detailed herein, Defendants made

 materially false and misleading statements and engaged in a scheme to deceive the

 market and a course of conduct that artificially inflated the price of Merck’s common

 stock and operated as a fraud or deceit on Class Period purchasers of Merck’s

 common stock by materially misleading the investing public. Later, Defendants’

 prior misrepresentations and fraudulent conduct became apparent to the market, the

 price of Merck’s common stock materially declined, as the prior artificial inflation

 came out of the price over time. As a result of their purchases of Merck’s common

 stock during the Class Period, Plaintiff and other members of the Class suffered

 economic loss, i.e., damages under federal securities laws.




                                           46
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25   Page 47 of 60 PageID: 47




       60.    Merck’s stock price fell in response to the partial corrective event on

 July 30, 2024, as alleged supra. On July 30, 2024, Defendants disclosed information

 that was directly related to their prior misrepresentations and material omissions

 concerning Merck’s forecasting processes and growth guidance.

       61.    In particular, on July 30, 2024, Merck announced a significant

 reduction of the sale of Gardasil in China and reduced their own prior expectations

 for shipments of the vaccine to Zhifei, Merck’s distributor of Gardasil in China, for

 the remainder of 2024. Notably, however, Merck refrained from walking back their

 long-term projections for Gardasil.

       62.    Merck’s stock price again fell in response to the final corrective event

 on February 4, 2025, as alleged supra. On February 4, 2025, Defendants disclosed

 additional information that was directly related to their prior misrepresentations and

 material omissions concerning Merck’s forecasting process and growth guidance

 both prior to and following the July 30, 2024, partial corrective event.

       63.    In particular, on February 4, 2025, Merck announced that it would

 entirely cease shipments of Gardasil to China “through at least midyear” and

 withdrew their long-standing projection to achieve $11 billion in Gardasil sales

 worldwide by 2030.




                                          47
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25   Page 48 of 60 PageID: 48




                 Presumption of Reliance; Fraud-On-The-Market

       64.    At all relevant times, the market for Merck’s common stock was an

 efficient market for the following reasons, among others:

       (a)    Merck’s common stock met the requirements for listing and was listed

 and actively traded on the NYSE during the Class Period, a highly efficient and

 automated market;

       (b)    Merck communicated with public investors via established market

 communication mechanisms, including disseminations of press releases on the

 national circuits of major newswire services and other wide-ranging public

 disclosures, such as communications with the financial press and other similar

 reporting services;

       (c)    Merck was followed by several securities analysts employed by major

 brokerage firms who wrote reports that were distributed to the sales force and certain

 customers of their respective brokerage firms during the Class Period. Each of these

 reports was publicly available and entered the public marketplace; and

       (d)    Unexpected material news about Merck was reflected in and

 incorporated into the Company’s stock price during the Class Period.

       65.    As a result of the foregoing, the market for Merck’s common stock

 promptly digested current information regarding the Company from all publicly

 available sources and reflected such information in Merck’s stock price. Under these


                                          48
Case 2:25-cv-01208-JXN-AME       Document 1     Filed 02/12/25   Page 49 of 60 PageID: 49




 circumstances, all purchasers of Merck’s common stock during the Class Period

 suffered similar injury through their purchase of Merck’s common stock at

 artificially inflated prices, and a presumption of reliance applies.

       66.    Alternatively, reliance need not be proven in this action because the

 action involves omissions and deficient disclosures. Positive proof of reliance is not

 a prerequisite to recovery pursuant to ruling of the United States Supreme Court in

 Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972). All that is

 necessary is that the facts withheld be material in the sense that a reasonable investor

 might have considered the omitted information important in deciding whether to buy

 or sell the subject security.

           No Safe Harbor; Inapplicability of Bespeaks Caution Doctrine

       67.    The statutory safe harbor provided for forward-looking statements

 under certain circumstances does not apply to any of the material misrepresentations

 and omissions alleged in this Complaint. As alleged above, Defendants’ liability

 stems from the fact that they provided investors with revenue projections while at

 the same time failing to maintain adequate forecasting processes. Defendants

 provided the public with forecasts that failed to account for this decline in sales

 and/or adequately disclose the fact that the Company at the current time did not have

 adequate forecasting processes.




                                           49
Case 2:25-cv-01208-JXN-AME     Document 1     Filed 02/12/25   Page 50 of 60 PageID: 50




       68.   To the extent certain of the statements alleged to be misleading or

 inaccurate may be characterized as forward looking, they were not identified as

 “forward-looking statements” when made and there were no meaningful cautionary

 statements identifying important factors that could cause actual results to differ

 materially from those in the purportedly forward-looking statements.

       69.   Defendants are also liable for any false or misleading “forward-looking

 statements” pleaded because, at the time each “forward-looking statement” was

 made, the speaker knew the “forward-looking statement” was false or misleading

 and the “forward-looking statement” was authorized and/or approved by an

 executive officer of Merck who knew that the “forward-looking statement” was false.

 Alternatively, none of the historic or present-tense statements made by Defendants

 were assumptions underlying or relating to any plan, projection, or statement of

 future economic performance, as they were not stated to be such assumptions

 underlying or relating to any projection or statement of future economic performance

 when made, nor were any of the projections or forecasts made by the defendants

 expressly related to or stated to be dependent on those historic or present-tense

 statements when made.

                        CLASS ACTION ALLEGATIONS

       70.   Plaintiff brings this action as a class action pursuant to Federal Rule of

 Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who


                                         50
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25   Page 51 of 60 PageID: 51




 purchased or otherwise acquired Merck’s common stock during the Class Period

 (the “Class”); and were damaged upon the revelation of the alleged corrective

 disclosure. Excluded from the Class are defendants herein, the officers and directors

 of the Company, at all relevant times, members of their immediate families and their

 legal representatives, heirs, successors or assigns and any entity in which defendants

 have or had a controlling interest.

       71.    The members of the Class are so numerous that joinder of all members

 is impracticable. Throughout the Class Period, Merck’s common stock were actively

 traded on the NYSE. While the exact number of Class members is unknown to

 Plaintiff at this time and can be ascertained only through appropriate discovery,

 Plaintiff believes that there are hundreds or thousands of members in the proposed

 Class. Record owners and other members of the Class may be identified from records

 maintained by Merck or its transfer agent and may be notified of the pendency of

 this action by mail, using the form of notice similar to that customarily used in

 securities class actions. October 31, 2024, there were approximately 2.53 billion

 shares of the Company’s common stock outstanding. Upon information and belief,

 these shares are held by thousands, if not millions, of individuals located throughout

 the country and possibly the world. Joinder would be highly impracticable.




                                          51
Case 2:25-cv-01208-JXN-AME        Document 1      Filed 02/12/25   Page 52 of 60 PageID: 52




        72.      Plaintiff’s claims are typical of the claims of the members of the Class

 as all members of the Class are similarly affected by Defendants’ wrongful conduct

 in violation of federal law that is complained of herein.

        73.      Plaintiff will fairly and adequately protect the interests of the members

 of the Class and has retained counsel competent and experienced in class and

 securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

 of the Class.

        74.      Common questions of law and fact exist as to all members of the Class

 and predominate over any questions solely affecting individual members of the Class.

 Among the questions of law and fact common to the Class are:

        (a)      whether the federal securities laws were violated by Defendants’ acts

 as alleged herein;

        (b)      whether statements made by Defendants to the investing public during

 the Class Period misrepresented material facts about the business, operations and

 management of Merck;

        (c)      whether the Individual Defendants caused Merck to issue false and

 misleading financial statements during the Class Period;

        (d)      whether Defendants acted knowingly or recklessly in issuing false and

 misleading financial statements;




                                             52
Case 2:25-cv-01208-JXN-AME       Document 1    Filed 02/12/25   Page 53 of 60 PageID: 53




       (e)    whether the prices of Merck’s common stock during the Class Period

 were artificially inflated because of the Defendants’ conduct complained of herein;

 and

       (f)    whether the members of the Class have sustained damages and, if so,

 what is the proper measure of damages.

       75.    A class action is superior to all other available methods for the fair and

 efficient adjudication of this controversy since joinder of all members is

 impracticable. Furthermore, as the damages suffered by individual Class members

 may be relatively small, the expense and burden of individual litigation make it

 impossible for members of the Class to individually redress the wrongs done to them.

 There will be no difficulty in the management of this action as a class action.

                                       COUNT I

                       Against All Defendants for Violations of

               Section 10(b) and Rule 10b-5 Promulgated Thereunder

       76.    Plaintiff repeats and realleges each and every allegation contained

 above as if fully set forth herein.

       77.    This Count is asserted against defendants and is based upon Section

 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

 thereunder by the SEC.




                                          53
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 54 of 60 PageID: 54




       78.    During the Class Period, Defendants engaged in a plan, scheme,

 conspiracy and course of conduct, pursuant to which they knowingly or recklessly

 engaged in acts, transactions, practices and courses of business which operated as a

 fraud and deceit upon. Plaintiff and the other members of the Class; made various

 untrue statements of material facts and omitted to state material facts necessary in

 order to make the statements made, in light of the circumstances under which they

 were made, not misleading; and employed devices, schemes and artifices to defraud

 in connection with the purchase and sale of securities. Such scheme was intended to,

 and, throughout the Class Period, did: (i) deceive the investing public, including

 Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and

 maintain the market price of Merck common stock; and (iii) cause Plaintiff and other

 members of the Class to purchase or otherwise acquire Merck’s securities at

 artificially inflated prices. In furtherance of this unlawful scheme, plan and course

 of conduct, Defendants, and each of them, took the actions set forth herein.

       79.    Pursuant to the above plan, scheme, conspiracy and course of conduct,

 each of the defendants participated directly or indirectly in the preparation and/or

 issuance of the quarterly and annual reports, SEC filings, press releases and other

 statements and documents described above, including statements made to securities

 analysts and the media that were designed to influence the market for Merck’s

 securities. Such reports, filings, releases and statements were materially false and


                                          54
Case 2:25-cv-01208-JXN-AME       Document 1      Filed 02/12/25   Page 55 of 60 PageID: 55




 misleading in that they failed to disclose material adverse information and

 misrepresented the truth about the Company.

       80.    By virtue of their positions at the Company, Defendants had actual

 knowledge of the materially false and misleading statements and material omissions

 alleged herein and intended thereby to deceive Plaintiff and the other members of

 the Class, or, in the alternative, Defendants acted with reckless disregard for the truth

 in that they failed or refused to ascertain and disclose such facts as would reveal the

 materially false and misleading nature of the statements made, although such facts

 were readily available to Defendants. Said acts and omissions of defendants were

 committed willfully or with reckless disregard for the truth. In addition, each

 defendant knew or recklessly disregarded that material facts were being

 misrepresented or omitted as described above.

       81.    Information showing that Defendants acted knowingly or with reckless

 disregard for the truth is peculiarly within defendants’ knowledge and control. As

 the senior managers and/or directors of the Company, the Individual Defendants had

 knowledge of the details of Merck’s internal affairs.

       82.    The Individual Defendants are liable both directly and indirectly for the

 wrongs complained of herein. Because of their positions of control and authority,

 the Individual Defendants were able to and did, directly or indirectly, control the

 content of the statements of the Company. As officers and/or directors of a publicly-


                                            55
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 56 of 60 PageID: 56




 held company, the Individual Defendants had a duty to disseminate timely, accurate,

 and truthful information with respect to Merck’s businesses, operations, future

 financial condition and future prospects. As a result of the dissemination of the

 aforementioned false and misleading reports, releases and public statements, the

 market price of Merck’s common stock was artificially inflated throughout the Class

 Period. In ignorance of the adverse facts concerning the Company which were

 concealed by Defendants, Plaintiff and the other members of the Class purchased or

 otherwise acquired Merck’s common stock at artificially inflated prices and relied

 upon the price of the common stock, the integrity of the market for the common

 stock and/or upon statements disseminated by Defendants, and were damaged

 thereby.

       83.    During the Class Period, Merck’s common stock was traded on an

 active and efficient market. Plaintiff and the other members of the Class, relying on

 the materially false and misleading statements described herein, which the

 defendants made, issued or caused to be disseminated, or relying upon the integrity

 of the market, purchased or otherwise acquired shares of Merck’s common stock at

 prices artificially inflated by defendants’ wrongful conduct. Had Plaintiff and the

 other members of the Class known the truth, they would not have purchased or

 otherwise acquired said common stock, or would not have purchased or otherwise

 acquired them at the inflated prices that were paid. At the time of the purchases


                                          56
Case 2:25-cv-01208-JXN-AME      Document 1      Filed 02/12/25   Page 57 of 60 PageID: 57




 and/or acquisitions by Plaintiff and the Class, the true value of Merck’s common

 stock was substantially lower than the prices paid by Plaintiff and the other members

 of the Class. The market price of Merck’s common stock declined sharply upon

 public disclosure of the facts alleged herein to the injury of Plaintiff and Class

 members.

       84.    By reason of the conduct alleged herein, Defendants knowingly or

 recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act

 and Rule 10b-5 promulgated thereunder.

       85.    As a direct and proximate result of defendants’ wrongful conduct,

 Plaintiff and the other members of the Class suffered damages in connection with

 their respective purchases, acquisitions and sales of the Company’s common stock

 during the Class Period, upon the disclosure that the Company had been

 disseminating misrepresented financial statements to the investing public.

                                      COUNT II

                          Against the Individual Defendants

                 for Violations of Section 20(a) of the Exchange Act

       86.    Plaintiff repeats and realleges each and every allegation contained in

 the foregoing paragraphs as if fully set forth herein.

       87.    During the Class Period, the Individual Defendants participated in the

 operation and management of the Company, and conducted and participated, directly


                                           57
Case 2:25-cv-01208-JXN-AME     Document 1     Filed 02/12/25   Page 58 of 60 PageID: 58




 and indirectly, in the conduct of the Company’s business affairs. Because of their

 senior positions, they knew the adverse non-public information about Merck’s

 misstatements.

       88.    As officers and/or directors of a publicly owned company, the

 Individual Defendants had a duty to disseminate accurate and truthful information,

 and to correct promptly any public statements issued by Merck which had become

 materially false or misleading.

       89.    Because of their positions of control and authority as senior officers,

 the Individual Defendants were able to, and did, control the contents of the various

 reports, press releases and public filings which Merck disseminated in the

 marketplace during the Class Period concerning the misrepresentations. Throughout

 the Class Period, the Individual Defendants exercised their power and authority to

 cause Merck to engage in the wrongful acts complained of herein. The Individual

 Defendants therefore, were “controlling persons” of the Company within the

 meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in

 the unlawful conduct alleged which artificially inflated the market price of Merck’s

 common stock.

       90.    Each of the Individual Defendants, therefore, acted as a controlling

 person of the Company. By reason of their senior management positions and/or

 being directors of the Company, each of the Individual Defendants had the power to


                                         58
Case 2:25-cv-01208-JXN-AME      Document 1     Filed 02/12/25   Page 59 of 60 PageID: 59




 direct the actions of, and exercised the same to cause Merck to engage in the

 unlawful acts and conduct complained of herein. Each of the Individual Defendants

 exercised control over the general operations of the Company and possessed the

 power to control the specific activities which comprise the primary violations about

 which Plaintiff and the other members of the Class complain.

       91.    By reason of the above conduct, the Individual Defendants and/or

 Merck are liable pursuant to Section 20(a) of the Exchange Act for the violations

 committed by the Company.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demand judgment against defendants as follows:

       A.     Determining that the instant action may be maintained as a class action

 under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the

 Class representatives;

       B.     Requiring Defendants to pay damages sustained by Plaintiff and the

 Class by reason of the acts and transactions alleged herein;

       C.     Awarding Plaintiff and the other members of the Class pre-judgment

 and post-judgment interest, as well as their reasonable attorneys’ fees, expert fees

 and other costs; and

       D.     Awarding such other and further relief as this Court may deem just and

 proper.


                                          59
Case 2:25-cv-01208-JXN-AME     Document 1      Filed 02/12/25   Page 60 of 60 PageID: 60




                        DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

 Dated: February 12, 2025                             Respectfully submitted,

                                                      LEVI & KORSINSKY, LLP


                                                      /s/ Adam M. Apton             _
                                                      Adam M. Apton
                                                      33 Whitehall Street, 17th Floor
                                                      New York, New York 10004
                                                      Tel.: (212) 363-7500
                                                      Fax: (212) 363-7171
                                                      Email: aapton@zlk.com

                                                      Attorneys for Plaintiff




                                          60
